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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION


    In re:                                                  Chapter 11
                          1
    USA GYMNASTICS,                                         Case No. 18-09108-RLM-11

                          Debtor.


             NOTICE OF PROPOSED AGENDA OF MATTERS SCHEDULED
             FOR TELEPHONIC HEARING ON MARCH 26, 2019 AT 1:30 P.M.

Time and Date of Hearing:                 Tuesday, March 26, 2019, at 1:30 p.m. (Prevailing Eastern
                                          Time).

Location of Hearing:                      Honorable Robyn L. Moberly, U.S. Bankruptcy Judge

                                          The Hearing will proceed telephonically. The dial-in
                                          telephone number for interested parties to participate in the
                                          hearing by conference call is 1-888-273-3658, passcode:
                                          9247462#. All callers shall keep their phones muted unless
                                          addressing the Court. All callers must identify themselves
                                          and the party(ies) they represent when addressing the Court.
                                          Callers shall not place their phones on hold during the
                                          hearing.

Copies of Documents:                      Copies of all documents filed in this chapter 11 case may be
                                          accessed      through      the      case      website     at:
                                          https://omnimgt.com/usagymnastics, or by contacting the
                                          Debtor’s attorneys, on PACER, or from the Clerk of the
                                          Court.

Estimated Length of Hearing:              25 minutes.




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 The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.
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A.    UNCONTESTED MATTERS

      1.   Exclusivity Extension Motion: Debtor’s Motion For Order Extending The
           Debtor’s Exclusive Periods To File And To Solicit Acceptances Of A Chapter 11
           Plan [Dkt. 325].

              a. Status: This matter is going forward.

              b. Estimated Time Required: 5 minutes.

      2.   Lease Assumption Extension Motion: Debtor’s Motion For Order Extending The
           Time Within Which The Debtor Must Assume Or Reject Unexpired Leases Of
           Nonresidential Real Property [Dkt. 326].

              a. Status: This matter is going forward.

              b. Estimated Time Required: 5 minutes.

      3.   CEO Employment Agreement Motion: Debtor’s Motion For Authority To Enter
           Into Employment Agreement [Dkt. 319].

              a. Status: This matter is going forward.

              b. Related Documents:

                 i.     Revised Proposed Order: Notice Of Revised Proposed Order
                        Granting Debtor Authority To Enter Into Employment Agreement
                        [Dkt. 349].

              c. Responses:

                 i.     Survivors Committee Response: Response Of The Additional Tort
                        Claimants Committee Of Sexual Abuse Survivors To Debtor’s
                        Motion For Authority To Enter Into Employment Agreement
                        [Dkt. 348].

              d. Replies:

                 i.     Debtor’s Reply: Debtor’s Reply To Response Of The Additional
                        Tort Claimants Committee Of Sexual Abuse Survivors To Debtor’s
                        Motion For Authority To Enter Into Employment Agreement
                        [Dkt. 350].

              e. Estimated Time Required: 10 minutes.




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B.    OTHER MATTERS

      1.     Insurance Coverage Adversary Proceeding (Adv. Pro. No. 19-50012)

                a. Status: This matter is set for a status conference to establish a briefing and
                   hearing schedule for Defendants’ motion to stay the adversary proceeding.

                b. Related Documents:

                    i.     Defendants’ Motion To Stay Adversary Proceeding: Motion For
                           Stay Of The Adversary Proceeding [Adv. Pro. No. 19-50012,
                           Dkt. 38].

                    ii.    Debtor’s Objection To Stay Motion: USA Gymnastics’ Objection
                           To Motion For Stay Of The Adversary Proceeding [Adv. Pro. No.
                           19-50012, Dkt. 75].

                c. Estimated Time Required: 5 minutes.


Dated: March 25, 2019                             Respectfully submitted,

                                                  JENNER & BLOCK LLP

                                                  By: /s/ Catherine Steege

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                                                  Counsel for the Debtor




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